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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


NML CAPITAL, LTD.,
                                                  08 Civ. 6978 (TPG)
                        Plaintiff,                09 Civ. 1707 (TPG)
                                                  09 Civ. 1708 (TPG)
      -against-

THE REPUBLIC OF ARGENTINA,                            OPINION

                        Defendant.


      Plaintiff, NML Capital, Ltd., (“NML”), is the beneficial owner of certain

bond indebtedness issued by defendant, the Republic of Argentina (the

“Republic”), on which the Republic defaulted in December 2001. Plaintiff now

moves for partial summary judgment for principal and interest due on the

bonds. The Republic responds that plaintiff “has improperly redacted purchase

price information from most of the proof offered in support of the motion,” and

therefore “the Republic reserves its rights and preserves for appeal all

objections to the deficiencies” in this proof.

      The motion for partial summary judgment is granted.

                                     Background

      The bond indebtedness at issue is governed by a Fiscal Agency

Agreement dated October 19, 1994 (the “1994 FAA”).        The 1994 FAA is the

same agreement that governed the bond indebtedness on which this court

granted summary judgment to the plaintiffs in Lightwater Corp. Ltd. v.

Republic of Argentina, No. 02 Civ. 3804, 2003 WL 1878420 (S.D.N.Y. Apr. 14,

2003). Section 22 of the 1994 FAA states that the Republic waives sovereign
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immunity and consents to jurisdiction in any state or federal court in the

borough of Manhattan in the City of New York. The 1994 FAA also provides

that the Republic’s obligations on the bonds are unconditional and that failure

to make any payment of principal or interest for 30 days after the applicable

payment date constitutes an event of default. A declaration by the Republic of

a moratorium on the payment of principal or interest on its public external

indebtedness is an event of default as well. Paragraph 12 of the FAA provides

for acceleration of principal if there is a failure to pay interest or a moratorium.

If either of these events occurs, “each holder of Securities and such Series may

by such notice in writing declare the principal amount of Securities of such

Series held by it to be due and payable immediately.”

      On December 24, 2001, the Republic declared a moratorium on

payments of principal and interest on the external debt of the Republic. The

court refers to its previous opinions for a description of the circumstances of

these defaults. Lightwater, 2003 WL 1878420, at *2; Applestein v. Republic of

Argentina, No. 02 Civ. 1773, 2003 WL 1990206, at *1 (S.D.N.Y. Apr. 29, 2003).

      On August 1, 2008, plaintiff sent a notice to Bankers Trust Company,

the Fiscal Agent of the Republic, declaring the principal amounts of the debt

securities held by plaintiff in Case No. 08 Civ. 6978 to be immediately due and

payable.   On February 4, 2009, plaintiff sent a notice to Bankers Trust

Company declaring the principal amounts of bonds with CUSIP Nos.

040114BE9, 040114FC9, 040114GD6, 040114AR1, 040114FB1, 040114AV2,




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and 040114GG9, held by plaintiff in Case No. 09 Civ. 1708 to be immediately

due and payable.

      The Floating Rate Accrual Notes in Case. No. 09 Civ. 1707 matured on

April 10, 2005, at which time the entire principal amount and all accrued and

unpaid interest thereon became due and payable. The bonds with CUSIP No.

040114AN0 in Case No. 09 Civ. 1708 matured on October 9, 2006, at which

time the entire principal amount and all accrued and unpaid interest therein

became due and payable.

      The bonds that are the subject of these actions, and the amounts of the

beneficial interests owned by plaintiff, are listed in the following tables.1




1     The court notes the distinction between bonds and beneficial interests. In some
      previous opinions, the court has simply referred to the plaintiffs as owners of
      “bonds,” when in fact plaintiffs are technically owners of “beneficial interests in
      bonds.” The Republic actually issues “a bond” to a depository. The depository,
      in some form, issues “participations” to brokers, who sell “beneficial interests”
      to purchasers. These beneficial interests are identified by reference to the
      underlying bond (CUSIP or ISIN number or both; date of issuance and maturity;
      rate of interest) and the principal amount of the beneficial interest. This
      distinction is discussed more fully in Million Air Corp. v. Republic of Argentina,
      No. 04 Civ. 1048, 2005 WL 2656126 (S.D.N.Y. Oct. 17, 2005).


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                                      Table _1_

Case No.                                08-Civ-6978

Plaintiff Bond Holder or Beneficial     NML Capital, Ltd.
Owner

Face Value                              U.S. $225,000

CUSIP No.                               040114AN0

Date of Issuance:                       October 9, 1996

Date of Maturity:                       October 9, 2006

Interest Rate/Payable:                  11%

Date of Acquisition:                    July 7, 2008

Acceleration:                           Notice sent August 1, 2008

Contract Documents:                     The 1994 FAA
(FAA; Indenture; Offering
Prospectus; Certificates, etc.)

Evidence of Ownership Proffered:        JP Morgan Global Settled Holdings
(Account Statements; Letters;           COB Report, dated October 13,
Notarized Statements, etc.)             2010. JP Morgan Consolidated
                                        Settlement ITD Report Statements.




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                                      Table _2_

Case No.                                08-Civ-6978

Plaintiff Bond Holder or Beneficial     NML Capital, Ltd.
Owner

Face Value                              U.S. $11,290,000

CUSIP No.                               040114BE9

Date of Issuance:                       April 7, 1999

Date of Maturity:                       April 7, 2009

Interest Rate/Payable:                  11.75%

Dates of Acquisition:                   July 7, 8, 10, 14, and 24, 2008

Acceleration:                           Notice sent August 1, 2008

Contract Documents:                     The 1994 FAA
(FAA; Indenture; Offering
Prospectus; Certificates, etc.)

Evidence of Ownership Proffered:        JP Morgan Global Settled Holdings
(Account Statements; Letters;           COB Report, dated October 13,
Notarized Statements, etc.)             2010. JP Morgan Consolidated
                                        Settlement ITD Report Statements.




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                                      Table _3_

Case No.                                08-Civ-6978

Plaintiff Bond Holder or Beneficial     NML Capital, Ltd.
Owner

Face Value                              U.S. $10,260,000

CUSIP No.                               040114FC9

Date of Issuance:                       March 15, 2000

Date of Maturity:                       March 15, 2010

Interest Rate/Payable:                  11.375%

Dates of Acquisition:                   July 7, 2008 and July 21, 2008

Acceleration:                           Notice sent August 1, 2008

Contract Documents:                     The 1994 FAA
(FAA; Indenture; Offering
Prospectus; Certificates, etc.)

Evidence of Ownership Proffered:        JP Morgan Global Settled Holdings
(Account Statements; Letters;           COB Report, dated October 13,
Notarized Statements, etc.)             2010. JP Morgan Consolidated
                                        Settlement ITD Report Statements.




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                                      Table _4_

Case No.                                08-Civ-6978

Plaintiff Bond Holder or Beneficial     NML Capital, Ltd.
Owner

Face Value                              U.S. $10,500,000

CUSIP No.                               040114GD6

Date of Issuance:                       February 21, 2001

Date of Maturity:                       February 21, 2012

Interest Rate/Payable:                  12.375%

Dates of Acquisition:                   July 14, 2008 and July 24, 2008

Acceleration:                           Notice sent August 1, 2008

Contract Documents:                     The 1994 FAA
(FAA; Indenture; Offering
Prospectus; Certificates, etc.)

Evidence of Ownership Proffered:        JP Morgan Global Settled Holdings
(Account Statements; Letters;           COB Report, dated October 13,
Notarized Statements, etc.)             2010. JP Morgan Consolidated
                                        Settlement ITD Report Statements.




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                                      Table _5_

Case No.                                08-Civ-6978

Plaintiff Bond Holder or Beneficial     NML Capital, Ltd.
Owner

Face Value                              U.S. $42,155,000

CUSIP No.                               040114AR1

Date of Issuance:                       January 30, 1997

Date of Maturity:                       January 30, 2017

Interest Rate/Payable:                  11-3/8%

Dates of Acquisition:                   June 9, 24, 27 and 30, 2008; July
                                        15 and July 18, 2008

Acceleration:                           Notice sent August 1, 2008

Contract Documents:                     The 1994 FAA
(FAA; Indenture; Offering
Prospectus; Certificates, etc.)

Evidence of Ownership Proffered:        JP Morgan Global Settled Holdings
(Account Statements; Letters;           COB Report, dated October 13,
Notarized Statements, etc.)             2010. JP Morgan Consolidated
                                        Settlement ITD Report Statements.




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                                      Table _6_

Case No.                                08-Civ-6978

Plaintiff Bond Holder or Beneficial     NML Capital, Ltd.
Owner

Face Value                              U.S. $1,100,000

CUSIP No.                               040114FB1

Date of Issuance:                       February 3, 2000

Date of Maturity:                       February 1, 2020

Interest Rate/Payable:                  12%

Date of Acquisition:                    July 16, 2008

Acceleration:                           Notice sent August 1, 2008

Contract Documents:                     The 1994 FAA
(FAA; Indenture; Offering
Prospectus; Certificates, etc.)

Evidence of Ownership Proffered:        JP Morgan Global Settled Holdings
(Account Statements; Letters;           COB Report, dated October 13,
Notarized Statements, etc.)             2010. JP Morgan Consolidated
                                        Settlement ITD Report Statements.




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                                      Table _7_

Case No.                                08-Civ-6978

Plaintiff Bond Holder or Beneficial     NML Capital, Ltd.
Owner

Face Value                              U.S. $5,500,000

CUSIP No.                               040114AV2

Date of Issuance:                       September 19, 1997

Date of Maturity:                       September 19, 2027

Interest Rate/Payable:                  9.75%

Dates of Acquisition:                   July 7, 15, 17 and 21, 2008

Acceleration:                           Notice sent August 1, 2008

Contract Documents:                     The 1994 FAA
(FAA; Indenture; Offering
Prospectus; Certificates, etc.)

Evidence of Ownership Proffered:        JP Morgan Global Settled Holdings
(Account Statements; Letters;           COB Report, dated October 13,
Notarized Statements, etc.)             2010. JP Morgan Consolidated
                                        Settlement ITD Report Statements.




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                                      Table _8_

Case No.                                09-Civ-1707

Plaintiff Bond Holder or Beneficial     NML Capital, Ltd.
Owner

Face Value                              U.S. $30,000

CUSIP No.                               040114AX8

Date of Issuance:                       April 13, 1998

Date of Maturity:                       April 10, 2005

Interest Rate/Payable:                  Variable

Date of Acquisition:                    October 16, 2008

Acceleration:

Contract Documents:                     The 1994 FAA
(FAA; Indenture; Offering
Prospectus; Certificates, etc.)

Evidence of Ownership Proffered:        JP Morgan Global Settled Holdings
(Account Statements; Letters;           COB Report, dated October 13,
Notarized Statements, etc.)             2010. JP Morgan Consolidated
                                        Settlement ITD Report Statements.




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                                      Table _9_

Case No.                                09-Civ-1708

Plaintiff Bond Holder or Beneficial     NML Capital, Ltd.
Owner

Face Value                              U.S. $3,442,000

CUSIP No.                               040114AN0

Date of Issuance:                       October 9, 1996

Date of Maturity:                       October 9, 2006

Interest Rate/Payable:                  11%

Dates of Acquisition/Sale:              November 10, 13 and 20, 2008;
                                        November 23, 2009 and July 2,
                                        2010

Acceleration:

Contract Documents:                     The 1994 FAA
(FAA; Indenture; Offering
Prospectus; Certificates, etc.)

Evidence of Ownership Proffered:        JP Morgan Global Settled Holdings
(Account Statements; Letters;           COB Report, dated October 13,
Notarized Statements, etc.)             2010. JP Morgan Consolidated
                                        Settlement ITD Report Statements.




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                                      Table _10_

Case No.                                09-Civ-1708

Plaintiff Bond Holder or Beneficial     NML Capital, Ltd.
Owner

Face Value                              U.S. $15,339,000

CUSIP No.                               040114BE9

Date of Issuance:                       April 7, 1999

Date of Maturity:                       April 7, 2009

Interest Rate/Payable:                  11.75%

Dates of Acquisition/Sale:              August 4, 2008; November 26,
                                        2008;
                                        and November 24, 2009

Acceleration:                           Notice sent February 4, 2009

Contract Documents:                     The 1994 FAA
(FAA; Indenture; Offering
Prospectus; Certificates, etc.)

Evidence of Ownership Proffered:        JP Morgan Global Settled Holdings
(Account Statements; Letters;           COB Report, dated October 13,
Notarized Statements, etc.)             2010. JP Morgan Consolidated
                                        Settlement ITD Report Statements.




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                                      Table _11_

Case No.                                09-Civ-1708

Plaintiff Bond Holder or Beneficial     NML Capital, Ltd.
Owner

Face Value                              U.S. $5,465,000

CUSIP No.                               040114FC9

Date of Issuance:                       March 15, 2000

Date of Maturity:                       March 15, 2010

Interest Rate/Payable:                  11.375%

Dates of Acquisition:                   October 2, 15, 22 and 29, 2008;
                                        November 7 and November 13,
                                        2008

Acceleration:                           Notice sent February 4, 2009

Contract Documents:                     The 1994 FAA
(FAA; Indenture; Offering
Prospectus; Certificates, etc.)

Evidence of Ownership Proffered:        JP Morgan Global Settled Holdings
(Account Statements; Letters;           COB Report, dated October 13,
Notarized Statements, etc.)             2010. JP Morgan Consolidated
                                        Settlement ITD Report Statements.




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                                      Table _12_

Case No.                                09-Civ-1708

Plaintiff Bond Holder or Beneficial     NML Capital, Ltd.
Owner

Face Value                              U.S. $8,209,000

CUSIP No.                               040114GD6

Date of Issuance:                       February 21, 2001

Date of Maturity:                       February 21, 2012

Interest Rate/Payable:                  12.375%

Dates of Acquisition/Sale:              August 25, 2008; October 30,
                                        2008; November 13, 2008; and
                                        November 24, 2009

Acceleration:                           Notice sent February 4, 2009

Contract Documents:                     The 1994 FAA
(FAA; Indenture; Offering
Prospectus; Certificates, etc.)

Evidence of Ownership Proffered:        JP Morgan Global Settled Holdings
(Account Statements; Letters;           COB Report, dated October 13,
Notarized Statements, etc.)             2010. JP Morgan Consolidated
                                        Settlement ITD Report Statements.




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                                      Table _13_

Case No.                                09-Civ-1708

Plaintiff Bond Holder or Beneficial     NML Capital, Ltd.
Owner

Face Value                              U.S. $15,301,000

CUSIP No.                               040114AR1

Date of Issuance:                       January 30, 1997

Date of Maturity:                       January 30, 2017

Interest Rate/Payable:                  11-3/8%

Dates of Acquisition:                   August 25, 2009; October 29,
                                        2008; November 13 and November
                                        24, 2008; December 5, 2008 and
                                        January 2, 2009

Acceleration:                           Notice sent February 4, 2009

Contract Documents:                     The 1994 FAA
(FAA; Indenture; Offering
Prospectus; Certificates, etc.)

Evidence of Ownership Proffered:        JP Morgan Global Settled Holdings
(Account Statements; Letters;           COB Report, dated October 13,
Notarized Statements, etc.)             2010. JP Morgan Consolidated
                                        Settlement ITD Report Statements.




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                                      Table _14_

Case No.                                09-Civ-1708

Plaintiff Bond Holder or Beneficial     NML Capital, Ltd.
Owner

Face Value                              U.S. $298,000

CUSIP No.                               040114FB1

Date of Issuance:                       February 3, 2000

Date of Maturity:                       February 1, 2020

Interest Rate/Payable:                  12%

Date of Acquisition:                    November 13, 2008

Acceleration:                           Notice sent February 4, 2009

Contract Documents:                     The 1994 FAA
(FAA; Indenture; Offering
Prospectus; Certificates, etc.)

Evidence of Ownership Proffered:        JP Morgan Global Settled Holdings
(Account Statements; Letters;           COB Report, dated October 13,
Notarized Statements, etc.)             2010. JP Morgan Consolidated
                                        Settlement ITD Report Statements.




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                                      Table _15_

Case No.                                09-Civ-1708

Plaintiff Bond Holder or Beneficial     NML Capital, Ltd.
Owner

Face Value                              U.S. $16,290,000

CUSIP No.                               040114AV2

Date of Issuance:                       September 19, 1997

Date of Maturity:                       September 19, 2027

Interest Rate/Payable:                  9.75%

Dates of Acquisition/Sale:              November 10, 13, 19, 26 and 28,
                                        2008;
                                        November 25 and 27, 2009

Acceleration:                           Notice sent February 4, 2009

Contract Documents:                     The 1994 FAA
(FAA; Indenture; Offering
Prospectus; Certificates, etc.)

Evidence of Ownership Proffered:        JP Morgan Global Settled Holdings
(Account Statements; Letters;           COB Report, dated October 13,
Notarized Statements, etc.)             2010. JP Morgan Consolidated
                                        Settlement ITD Report Statements.




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                                      Table _16_

Case No.                                09-Civ-1708

Plaintiff Bond Holder or Beneficial     NML Capital, Ltd.
Owner

Face Value                              U.S. $76,545,549

CUSIP No.                               040114GG9

Date of Issuance:                       June 19, 2001

Date of Maturity:                       June 19, 2018

Interest Rate/Payable:                  12.25%

Dates of Acquisition:                   August 11, 2008; October 2, 15, 29
                                        and 31, 2008; November 3, 5, and
                                        11, 2008; and December 10, 2008

Acceleration:                           Notice sent February 4, 2009

Contract Documents:                     The 1994 FAA
(FAA; Indenture; Offering
Prospectus; Certificates, etc.)

Evidence of Ownership Proffered:        JP Morgan Global Settled Holdings
(Account Statements; Letters;           COB Report, dated October 13,
Notarized Statements, etc.)             2010. JP Morgan Consolidated
                                        Settlement ITD Report Statements.




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                                  Discussion

      This court has already granted summary judgment in other cases to

plaintiffs seeking to collect on the Republic’s defaulted bonds issued under the

1994 FAA. See Mazzini v. Republic of Argentina, No. 03 Civ. 8120, 2005 WL

743090 (S.D.N.Y. Mar. 31, 2005). Only certain issues need to be discussed in

connection with the present motion.

Standing and Proof of Ownership

      In two opinions, Fontana v. Republic of Argentina, 415 F.3d 238 (2d Cir.

2005), and Applestein v. Province of Buenos Aires, 415 F.3d 242 (2d Cir. 2005),

the Second Circuit held that an owner of a beneficial interest, such as plaintiff

in the instant cases, must receive authorization from the registered holder of

the bond before it may sue, but that such authorization may be granted

subsequent to the filing of a lawsuit. Alternatively, the Republic may waive the

authorization requirement.

      The Republic has agreed to waive objections based on lack of

authorization where the court makes a finding of current ownership.          See

Transcript, March 28, 2006, Cilli v. Republic of Argentina (04 Civ. 6594).

      Here, plaintiff has adequately demonstrated through account statements

from JP Morgan that it owned the beneficial interests as of October 13, 2010.

There is no evidence of any change of ownership thereafter.




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                                   Conclusion
     The motion for partial summary judgment is granted. Judgment will be

entered for the principal amounts of the bonds plus accrued interest in each of

the three above-captioned cases.

      The parties shall consult with one another concerning the form of the

judgments and the amounts of interest that should be awarded in the

judgments. If the parties are able to reach agreement on those subjects, they

shall jointly submit agreed proposed judgments to the Court. If the parties are

unable to reach agreement on those subjects, plaintiff shall submit proposed

judgments to the Court, and the Republic shall submit any objections to the

proposed judgments within five business days thereafter. The Court will then

resolve any remaining disagreements.    Proposed judgments submitted to the

Court should include the following language:     "It is further ORDERED that,

until further notice from the Court, plaintiff(s) must refrain from selling or

otherwise transferring their beneficial interest in the bond(s) involved in this

action without advising the Court in advance and obtaining permission of the

Court."

      This opinion resolves the motion listed as document number 232 in case

08 Civ. 6978, as well as the same motion in the related cases.

      SO ORDERED.


Dated: New York, New York
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   USDCSDNY                                 Thomas P. Griesa
   DOCUMENT                                 U.S. District Judge
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